                No. 24-1244


     In the United States Court of Appeals
             for the Sixth Circuit



    United States of America,
                       Plaintiff-Appellant,

                      v.


    Ronald Norvale Williams,
                       Defendant-Appellee.


On Appeal from the United States District Court
     for the Eastern District of Michigan
    No. 23-cr-20201 (Hon. Judith E. Levy)


         Brief for the United States



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                  Oral Argument Is Unnecessary

     This case is squarely governed by intervening, binding Sixth

Circuit precedent. Oral argument is unnecessary.




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                          Jurisdictional Statement

     The district court had jurisdiction under 18 U.S.C. § 3231 because

the case involves an “offense[] against the laws of the United States.”

This Court has jurisdiction under 18 U.S.C. § 3731 because the

government is appealing “an order of a district court dismissing an

indictment.” The order was entered resulting from a pretrial motion to

dismiss and before jeopardy attached. Thus, appeal is permissible

because the double jeopardy clause of the United States Constitution

does not prohibit further prosecution. Id.

     The district court entered its order on February 22, 2024 (R.29:

Opinion and Order, 390–462. The United States timely appealed. (R.34:

Notice of Appeal, 516).




                                     1
                              Introduction

     Ronald Williams murdered two people by shooting them in the

back. One was a pregnant woman trying to flee from him when

Williams shot her multiple times. Convicted of both first-degree murder

and second-degree murder, he was on parole from a life sentence—and

prohibited by that parole from possessing a gun—when police found

him in possession of a loaded gun and cocaine. That led to him being

charged here as a felon-in-possession of a firearm in violation of 18

U.S.C. § 922(g)(1).

     Despite being a convicted double-murderer on parole for those

crimes, Williams moved to dismiss the indictment. He claimed that

§ 922(g)(1) is unconstitutional as applied to him under the Supreme

Court’s opinion in New York State Rifle & Pistol Ass’n, Inc. v. Bruen,

597 U.S. 1 (2022). The district court—refusing to consider the nature of

his prior convictions or any circumstances specific to Williams—agreed

and dismissed the indictment. Under intervening Sixth Circuit

precedent, that decision must be reversed.




                                    2
                           Issues Presented

     Is § 922(g)(1) constitutional under the Second Amendment as

applied to Williams, a convicted double-murderer on parole and subject

to a condition that he not possess firearms?




                                    3
                         Statement of the Case

     This case began when Ronald Williams—a convicted double-

murderer on parole—was caught with drugs and a gun in his car

following a traffic crash. Police who responded to the incident found a

stolen, loaded pistol on the floor in the front seat. (R.19-1: App. to Gov’t

Supp. Br., 158–59). They also found two baggies containing about 23

grams of cocaine in Williams’s backpack. (Id., 159, 162–63). According

to Williams, he bought the gun because he was scared after the

daughter of one of his murder victims gestured at him. (Id., 156, 162).

He knew that he was prohibited from possessing a gun. (Id., 161).

     Williams had previously been convicted of first-degree murder and

second-degree murder, and he was on parole for those crimes at the

time. (R.13: Motion to Dismiss, 33). The facts underlying his murder

convictions are jarring. While sitting in the back seat of a car, Williams

shot and killed the front passenger. (R.19-1: App. to Gov’t. Supp. Br.,

149). Williams then shot the driver, who was pregnant, three times as

she fled down the street trying to escape. (Id.). The driver died in the

emergency room. (Id., 150; R.22-6: Williams Second Supp. Br., 331).

Williams claimed that he was acting in self-defense and expressed no

                                     4
remorse for his actions. (R.19: App. to Gov’t. Supp. Br., 149). And even

before these murders, Williams had been arrested for having a gun in

school, had several police contacts involving weapons and assaults, and

was an admitted drug dealer. (Id.).

     In connection with the murders, Williams received a sentence of

25 to 60 years for first-degree murder, a life sentence for second-degree

murder, and a consecutive two-year sentence for possessing a firearm

during the commission of a felony. (Id., 169–71; R.18: Williams First

Supp. Br., 95). Paroled in late 2019 for a four-year-term, Williams was

subject to a condition that he not possess firearms. (R.19-1: App. to

Gov’t. Supp. Br., 152–53). It was during that parole that Williams

possessed the firearm at issue here.

     A grand jury indicted Williams on one count of being a felon in

possession of a firearm in violation of 18 U.S.C. § 922(g)(1). (R.1:

Indictment, 1–3). He consented to detention pending trial. (R.8: Consent

Order of Detention, 15).

     Williams later moved to dismiss the indictment, claiming that

§ 922(g)(1) was unconstitutional as applied to him under New York

State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022). (Id., 29–55;

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R.18: Williams First Supp. Br., 94). The United States responded, and

both parties provided supplemental briefing at the district court’s

request. (R.16: Gov’t Resp., 59–79; R.17: Order for Supp. Briefing, 87–

92; R.18: Williams First Supp. Br., 94–96; R.19: Gov’t Supp. Resp., 97–

145; R.19-1: App. to Gov’t. Supp. Br., 146–74; R.22: Williams Second

Supp. Br., 181–370).

     In a 73-page opinion, the court granted the motion to dismiss,

finding that § 922(g)(1) is unconstitutional as applied to Williams.

(R.29: Opinion, 390–462). It considered only Williams’s as-applied

challenge, rejecting his later request to consider a facial one as well.

(Id., 392 n.3). The district court acknowledged Williams’s two prior

murder convictions as well as the parole condition that he not possess

firearms. (Id., 392 1 n.2, 410 n.16). But in assessing Williams’s as-

applied challenge, the court considered only those facts alleged in the

indictment—i.e., that he was a convicted felon who possessed a firearm.

(Id., 422–24). The court did so “in recognition of the current status of his

criminal case and out of respect for his rights.” (Id., 422). The court

refused to consider any facts “absent from the indictment, such as that



                                     6
[Williams] was on parole, that the gun was stolen, and that [Williams]

was in possession of certain drugs.” (Id., 425).

     The court found that the government failed to identify under

Bruen “a distinctly similar historical regulation” that categorically

restricted felons from possessing firearms. (Id., 431). It further found

that the government failed to meet Bruen’s “relevantly similar”

standard as well. (Id., 433–62). The government appeals. (R.34: Notice

of Appeal, 516).




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                      Summary of the Argument

     Under this Court’s recent decision in United States v. Williams,

113 F.4th 637 (6th Cir. 2024), 18 U.S.C. § 922(g)(1) is valid on its face

and as applied to dangerous persons. In addition, as held in United

States v. Goins, 118 F.4th 794 (6th Cir. 2024), an as-applied challenge

must be rejected when a defendant possessed a firearm while on

probation and subject to a condition that he not possess firearms.

     Here, Ronald Williams had previously committed society’s most

violent and dangerous offenses—first and second-degree murder—and

was sentenced to life in prison. Those convictions alone establish beyond

question that Williams was dangerous. Moreover, he was on parole for

those crimes and possessed a gun in violation of a parole condition that

he not possess firearms.

     On this record, the district court’s order finding that § 922(g)(1)

was unconstitutional as applied to Ronald Williams is contrary to both

Williams and Goins and must be reversed.




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                                Argument

I.   Section 922(g)(1) is constitutional as applied to Williams—a
     dangerous murderer who violated the terms of his parole by
     possessing a firearm.

     A district court’s conclusion that a statute is unconstitutional is

reviewed de novo. United States v. Loney, 331 F.3d 516, 524 (6th Cir.

2003).

     A.    The Supreme Court has clarified how to analyze Second
           Amendment challenges to gun regulations.

     In District of Columbia v. Heller, 554 U.S. 570 (2008), the

Supreme Court held that the Second Amendment protects the right of

“law-abiding, responsible citizens” to keep firearms in their homes for

self-defense. Id. at 635. But “[l]ike most rights, the right secured by the

Second Amendment is not unlimited.” Id. at 626. As the Court

explained, “nothing in [its] opinion should be taken to cast doubt” on

certain “presumptively lawful regulatory measures,” such as

“longstanding prohibitions on the possession of firearms by felons.” Id.

at 626-27 & n.26.

     In New York State Rifle & Pistol Association v. Bruen, the

Supreme Court held that the Second Amendment protects the right of

                                     9
“ordinary, law-abiding citizens” to “carry a handgun for self-defense

outside the home.” 597 U.S. 1, 9–10 (2022). Bruen struck down New

York’s “proper-cause requirement” to obtain a license to carry a

handgun outside the home because the law “prevent[ed] law-abiding

citizens with ordinary self-defense needs from exercising their right to

keep and bear arms.” Id. at 71. Bruen “reiterate[d]” the “standard for

applying the Second Amendment,” explaining that “[w]hen the Second

Amendment’s plain text covers an individual’s conduct, the Constitution

presumptively protects that conduct.” Id. at 24. And when a regulation

burdens presumptively protected conduct, “[t]he government must then

justify its regulation by demonstrating that it is consistent with the

Nation’s historical tradition of firearm regulation.” Id.

     In United States v. Rahimi, 602 U.S. ___, 144 S. Ct. 1889 (2024),

the Supreme Court examined a Second Amendment challenge to 18

U.S.C. § 922(g)(8), which prohibits a person subject to a domestic

violence restraining order from possessing a gun. There, the Supreme

Court reaffirmed that Bruen requires a court to “ascertain whether the

new law is ‘relevantly similar’ to laws that our tradition is understood

to permit.” Id. at 1898 (quoting Bruen, 597 U.S. at 29). Even the dissent

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acknowledged this as the appropriate standard. Id. at 1933, 1944

(Thomas, J., dissenting). As Bruen explained, “the lack of a distinctly

similar historical regulation” is merely “relevant evidence” to consider

in assessing whether the challenged regulation is inconsistent with the

Second Amendment.” Bruen, 597 U.S. at 26–27. It’s not a different or

more demanding standard. See United States v. Diaz, 116 F.4th 458,

471 (5th Cir. 2024) (“This ‘bifurcated’ approach has been rejected by the

Supreme Court.”). As the Supreme Court explained in Rahimi, it never

“meant to suggest a law trapped in amber,” and it reaffirmed that

Bruen should not be read to require courts to look for an historical twin.

Rahimi, 144 S. Ct. at 1897.

     Turning to Rahimi’s challenge, the Supreme Court held that a

defendant raising a facial challenge must “establish that no set of

circumstances exists under which the Act would be valid.” Id. at 1898

(quoting United States v. Salerno, 481 U.S. 739, 745 (1987)). The Court

had “no trouble concluding” that § 922(g)(8) was facially constitutional

because Rahimi could not establish that the statute had no valid

applications. Id. at 1902. It further held that the statute “can be

lawfully applied to Rahimi” because “[o]ur tradition of firearm

                                    11
regulation allows the Government to disarm individuals who present a

credible threat to the physical safety of others.” Id.

      B.    Under Sixth Circuit precedent, § 922(g)(1) is constitutional as
            applied to dangerous people.

      Against that backdrop, this Court recently decided United States

v. Williams, 113 F.4th 637 (6th Cir. 2024). There, this Court held that a

convicted felon falls within the “people” protected by the Second

Amendment and thus satisfies Bruen’s first step. Id. at 648–50. As to

the second step, however, this Court identified a robust historical

tradition of gun regulation that supported disarming convicted felons.

Id. at 650–57. And because—just as in Rahimi—the statute is not

invalid in all applications, “§ 922(g)(1) is not susceptible to a facial

challenge.” Id. at 657 (citing Salerno, 481 U.S. at 745); see also United

States v. Gore, 118 F.4th 808, 811 (6th Cir. 2024) (citing Rahimi and

Salerno). In fact, this Court held that “most applications of § 922(g)(1)

are constitutional.” Williams, 113 F.4th at 657. Engaging in a detailed

historical analysis of English history, colonial practice, and the

Founding Era, this Court found that “governments in England and

colonial America long disarmed groups that they deemed to be


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dangerous.” Id. Those groups “posed a fundamental threat to peace,” so

they “had to be kept away from arms.” Id. As a result, “governments

labeled whole classes as presumptively dangerous.” Id. Acknowledging

that such an “evaluation was not always elegant,” this Court recognized

that “there is no doubt that governments have made such

determinations for centuries.” Id. “Each time, however, individuals

could demonstrate that their particular possession of a weapon posed no

danger to peace.” Id. Accordingly, “legislatures may disarm groups of

people, like felons, whom the legislature believes to be dangerous—so

long as each member of that disarmed group has an opportunity” to

make an individualized showing that he himself is not actually

dangerous.” Id. at 663. Thus, a defendant raising an as-applied

challenge must show that he is not dangerous to prove he “falls outside

of § 922(g)(1)’s constitutionally permissible scope.” Id. at 657. The

government maintains that § 922(g)(1) is constitutional in all of its

applications, and not just as applied to “dangerous” people. Id. at 663–

65 (Davis, J., concurring in judgment) (the presumption of lawfulness in

Heller and Rahimi is enough to reject an as-applied challenge to §

922(g)(1)); see also United States v. Jackson, 110 F.4th 1120 (8th Cir.

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2024) (after remand) (rejecting felony-by-felony litigation after Rahimi).

Nonetheless, Williams confirms that the district court here erred in

concluding that § 922(g)(1) is unconstitutional as applied to Ronald

Williams. After Williams, this Court provided further guidance on

assessing dangerousness in United States v. Goins, 118 F.4th 794 (6th

Cir. 2024). Goins possessed a firearm while on a four-year term of

probation for fourth-offense drunk driving, drunk driving on a

suspended license, and possession of a controlled substance—all

punishable by more than a year in prison. Id. at 796 & n.1. One of the

terms of his probation was that he not possess firearms. Id. In addition

to those felony convictions, Goins had a criminal history going back ten

years. Id. at 796–97, 804. That history, not all of which resulted in

convictions, consisted of numerous instances of drunk driving, public

intoxication, and criminal mischief, and this Court also considered the

circumstances of those offenses, like causing an accident. Id. at 797.

Goins illustrates the broad scope of the dangerousness inquiry. It

doesn’t require violence or even direct physical threats. Even

misdemeanor-level conduct, like drunk driving, is relevant because it

endangers the public. Id. at 804. As this Court explained, “Goin’s

                                    14
history of drug use—particularly driving under the influence—is

dangerous conduct; ergo his Second Amendment rights may be

regulated temporarily while he is on probation under Rahimi and …

Williams.” Id. at 801 n.5. And misdemeanor acts of domestic violence

also constitute dangerous conduct that justifies disarming a person. See

United States v. Gailes, 118 F.4th 822, 828, 830 (6th Cir. 2024). In

short, “the totality of the facts” demonstrated that “Congress could

lawfully disarm Goins at the time he possessed the firearm.” Goins, 118

F.4th at 805. That judgment was further supported by the fact that

Goins was on probation at the time. “In addition to disarming the

dangerous, our nation’s historical tradition of forfeiture laws, which

temporarily disarmed convicts while they completed their sentences,

also supports disarming those on parole, probation, or supervised

release.” Id. at 801–02 (citing United States v. Moore, 111 F.4th 266,

269–72 (3d Cir. 2024)). Likening a probation condition to restricting a

person indicted for a felony offense, this Court held that depriving a

convicted felon of his “Second Amendment right as a part of his

probation for his felony offense … comports with … historical tradition.”

Id. at 803 (citing Gore, which upheld § 922(n) prohibiting those under

                                    15
felony indictment from receiving a firearm). Goins offers further reason

to reverse the judgment here.

     C.    The burden falls on a defendant to show that he was not
           dangerous when he possessed the firearm.

     Williams explained how a court should determine whether a

defendant can prove that he is not dangerous. The focus is “on each

individual’s specific characteristics.” Williams, 113 F.4th at 657. The

inquiry “necessarily requires considering the individual’s entire

criminal record—not just the offense for purposes of § 922(g)(1).” Id. at

657–58 & n.12 (“[C]ourts may wish to consider information beyond

criminal convictions when assessing a defendant’s dangerousness.”).

Focusing on an individual’s “characteristics” makes it a broad inquiry,

not a categorical approach. Id. at 660. While “in many instances … the

dangerousness will be self-evident,” the inquiry is “fact-specific” and

accounts for the “unique circumstances of the individual defendant,” a

standard that suggests few limitations other than relevance. Id. And

the facts underlying prior convictions should be considered as well, just

as they were in Williams. Id. at 662 (describing facts of prior robbery

and felon-in-possession convictions).


                                    16
     To assess dangerousness, Williams identified three classes of

crimes—each with a different impact on the dangerousness calculus.

The first class of offenses—crimes against the person—“speak directly

to whether an individual is dangerous.” Id. at 658. These are

“dangerous and violent crimes like murder, rape, assault, and robbery.”

Id. Although labelling it an “open question,” this Court suggested that

“crimes in this bucket are dispositive [because it] is hard to see how

someone who commits such a dangerous and violent act may overcome

the presumption that they are dangerous.” Id. The second category of

crimes—while not strictly crimes against the person—still “pose a

significant threat of danger.” Id. at 659. The threat may not involve “an

immediate and direct threat of violence against a particular person,”

but they pose a danger to the community and often lead to violence. Id.

For example, crimes like drug trafficking and burglary are especially

dangerous because “they put someone’s safety at risk, and thus, justify

a finding of danger.” Id. The final category are crimes like mail fraud or

making false statements. Id. This Court described this category as “the

most challenging to address” because these crimes “cause no physical

harm to another person or the community,” and it suggested that “many

                                    17
of these crimes don’t make a person dangerous.” Id. This Court

emphasized that courts can “consider a defendant’s entire criminal

record—not just the specific felony underlying his § 922(g)(1)

conviction.” Id. at 659–60. This includes any convictions as well as their

underlying facts. Id. at 660. And the categorical approach does not

apply. Id. Illustrating that dangerousness is a familiar and workable

standard for courts to apply, Williams identified at least two contexts

during a criminal case when a court already determines dangerousness:

detention and whether to order a defendant to refrain from possessing a

firearm while on probation or supervised release. Id. at 657. The

offense conduct also matters. As this Court has explained, an as-applied

challenge “alleges that the application of the statute in the particular

context in which he has acted ... would be unconstitutional.” Carroll v.

City of Cleveland, 522 F. App'x 299, 306 (6th Cir. 2013); United States v.

Perez-Garcia, 96 F.4th 1166, 1177 (9th Cir. 2024) (as-applied challenge

“means they contend only that the law violates their Second

Amendment rights based on the facts of their particular cases”). That

necessarily requires an examination of the particular factual context in

which the defendant acted. See United States v. Moore, 111 F.4th 266,

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272–73 (3d Cir. 2024) (an as-applied challenge requires consideration of

the “particular person under particular circumstances”). In Moore, the

Third Circuit rejected the notion that a court can consider only the facts

alleged in the indictment in resolving an as-applied challenge holding

that “‘these particular circumstances’ include facts beyond the predicate

offenses alleged in the indictment.” Id. at 273. The court emphasized

that “the circumstances of a criminal offense can justify rejecting an as-

applied challenge to a conviction regardless of whether they were

charged [in the indictment].” Id. To successfully make an as-applied

challenge, a defendant “must show that under these particular

circumstances he was deprived of a constitutional right.” Id. One

simple hypothetical illustrates why the facts of the charged offense are

both relevant and critical to determining if a defendant was dangerous.

Consider a felon who possesses a gun during a home invasion. If he’s

the homeowner possessing a gun to defend his family, that presents one

picture. But if he’s the guy breaking in with the gun, that paints a

completely different picture. Violations of § 922(g)(1) are charged in a

myriad of circumstances, and courts must look at those circumstances



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to help decide whether a defendant can prove that he is not dangerous.

The district court here was wrong to ignore them.

     D.    Williams cannot show that he is not dangerous.

     Like in Williams, where the record showed that the defendant

could not prove a lack of dangerousness to support his as-applied

challenge, the record here demonstrates that Ronald Williams cannot

meet that burden either. Because he is dangerous, § 922(g)(1) is

constitutional as applied to him.

           1.    Williams’s murder convictions conclusively
                 establish that he cannot show a lack of
                 dangerousness.

     Williams murdered two people using a gun, and one of them was a

pregnant woman who was trying to flee from him. That these are

dangerous and violent offenses should go without saying. Those offenses

fall squarely within the first category of convictions—crimes against the

person—that “speak directly to whether an individual is dangerous.”

Williams, at 658. Indeed, Williams indicated that such an offense

“might create an irrebuttable presumption of dangerousness.” Id. Here,

Williams’s convictions are the worst-of-the-worst and are precisely the

kind that create an irrebuttable presumption of dangerousness. As
                                    20
Williams observed, the Framers punished many of the offenses in this

category with death. Id. (citing Chapter 9, 1 Congress, Public Law 1-9. 1

Stat. 112 (1790)). And first-degree murder continues to be an offense

punishable by death. See, e.g., 18 U.S.C. § 1111(b); Death Penalty

Information Center, https://deathpenaltyinfo.org/states-landing (27

states have the death penalty) (last visited December 2, 2024). “[A]t the

founding, the death penalty was a way of ‘preventing crimes in the

future’ by “eliminat[ing] those too dangerous to have a place in society.”

Williams, 113 F.4th at 658. Committing a violent crime like murder

(twice, no less) should be “totally dispositive on the question” of whether

Ronald Williams is dangerous. Id.

     But even if rebuttal was possible, the defendant’s burden of

showing a lack of dangerousness “would be extremely heavy.” Id. And

even then, only those individuals who “could demonstrate that they

were not dangerous” could “restor[e] their ability to keep arms.” Id. at

654. How Williams could meet such a burden is unimaginable.

Incarcerated in prison for most of his adult life until he was paroled in

late 2019, Williams remained under supervision on a life sentence and

could not comply with the conditions of parole or even remain crime-

                                    21
free. Instead, he possessed a loaded stolen gun along with cocaine. In

Williams, this Court held that a conviction for attempted murder was

alone enough to demonstrate dangerousness. Id. 662. Similarly, two

homicide-related convictions, including an attempted second-degree

murder offense, rendered one defendant “exactly the type of individual

our history and tradition allow Congress to disarm.” United States v.

Parham, 119 F.4th 488, 496 (6th Cir. 2024). Here, Williams actually

murdered two people, which is more than enough to demonstrate his

dangerousness. If a convicted killer like Ronald Williams cannot be

prohibited from possessing a firearm, then § 922(g)(1) is truly a nullity.

     In sum, the serious nature of Williams’s past crimes and the

circumstances in which they were committed overwhelmingly establish

his dangerousness. On this record, as in Williams, he cannot meet his

high burden to show otherwise, making a remand for that purpose

inappropriate, and the district court’s decision sustaining his as-applied

challenge must be reversed.




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           2.    Williams was on parole for murder and subject
                 to a condition that he not possess firearms.

     That Williams was on parole at the time he possessed the firearm

here should be enough to reject his as-applied challenge. Goins, 118

F.4th at 805, 807 (Bush, J., concurring opinion) (citing Moore, 111 F.4th

266 (3d Cir. 2024)); United States v. Taylor, No. 23-5644, 2024 WL

4891756, *2 (6th Cir. Nov. 25, 2024) (being on probation at the time the

defendant possessed firearms was “dispositive” under Goins). But here,

there was more. Williams was on parole for committing two murders

using a gun and was specifically ordered not to possess a firearm during

the term of his parole. This easily satisfies Goins and independently

requires reversal of the district court’s order.

     In Goins, this Court held that “three aspects” of the case

compelled the conclusion that Congress could lawfully disarm Goins.

Goins, 118 F.4th at 797. “First, Goins was in violation of the state

probation condition that prohibited him from possessing a firearm at

the time he did.” Id. “[S]econd, Goins was under a relatively short

probation sentence for a dangerous crime.” Id. Goins was under a four-




                                     23
year probationary term. Id. at 796. Finally, Goins’s “repeated actions

demonstrated a likelihood of future dangerous conduct.” Id. at 797.

     Those circumstances all exist here. Williams was subject to a

similar parole condition, prohibiting him from possessing firearms at

the time he possessed one. His parole term for his dangerous crimes

was the same as in Goins—four years. And his history of dangerous

conduct—committing two murders using a gun—is unequivocal.

Williams was dangerous and he can’t show otherwise.

     Accordingly, just as “Congress could lawfully disarm Goins at the

time he possessed the firearm,” Congress could lawfully disarm

Williams as well. Goins, 118 F.4th at 805. The district court erred in

concluding otherwise.




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                              Conclusion

     This Court should reverse the district court’s order dismissing the

indictment and remand the case with instructions to reinstate the

indictment and proceed to trial.

                                   Respectfully submitted,

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Dated: December 2, 2024




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                          Certificate of Service

     I certify that on December 2, 2024, I caused this Brief for the

United States to be electronically filed with the Clerk of the United

States Court of Appeals for the Sixth Circuit using the ECF system,

which will send notification of the filing to the following attorney of

record:

          Brandy Yolanda Robinson, brandy_robinson@fd.org




                                      /s/ William J. Vailliencourt, Jr.
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                 Relevant District Court Documents

       The United States of America designates as relevant these

documents in the district court’s electronic record, Eastern District of

Michigan case number 23-cr-20201:

Record No.     Document Description                       Page ID Range

01             Indictment                                 1–3
               Consent Order of Detention Pending
08                                                        15
               Trial
               Motion to Dismiss the Indictment of
13                                                        29–56
               Second Amendment Violation
               Government Response to Motion to
16                                                        59–86
               Dismiss the Indictment
17             Order for Supplemental Briefing            87–93

18             Williams First Supplemental Brief          94–96

19             Government Supplemental Brief              97–145
               Appendices to Government
19-1           Supplemental Brief in Response to          146–174
               Motion to Dismiss
               William Second Supplemental Brief in
22                                                        181–370
               Support of Bruen Motion to Dismiss
               Opinion & Order Granting Motion to
29                                                        390–462
               Dismiss
34             Notice of Appeal by United States          516–517




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